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                       IN THE UNITED STATES DISTRICT COURT
                       F O R T H E SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


DONALD PYLES, SUSAN            )
SCHROEDER, on behalf of themselves
                               )
and all others similarly situated,
                               )
                               )
           Plaintiffs,         ) Case No. 3:18-cv-00152
                               )
v.                             )
                               )
NICOR ENERGY SERVICES COMPANY, )
                               )
           Defendant.          )
                               )



     ORDER GRANTING JOINT MOTION TO STAY CASE PENDING SETTLEMENT

       This matter is before the Court on the parties’ Joint Motion to Stay Case Pending

Settlement. The Court having reviewed the matter hereby GRANTS the motion. This matter is

hereby STAYED pending the approval of the settlement of this action. The parties are

ORDERED to notify the Court fourteen days after receiving an order from the Southern District

of Indiana on final approval of the settlement.

       The Court would ORDER that a status report be submitted to the Court every 60 days

until final approval of the settlement.



Dated: July 5, 2018                                 *s/Thomas M. Rose
                                              _________________________________
                                                    Judge, Southern District of Ohio




 
